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   outstanding        claims     and      crossclaims        among     intervenor

   plaintiffs SDJ Investments, LLC, Adobe Investments, LLC, and

   Darren Sivertsen (together, the “Intervenor Plaintiffs”),

   intervenor defendant Jackie Robinson Foundation (“Intervenor

   Defendant”), and the Defendants.

           The    Court   considered   the    SEC’s     and    the    Defendants’

   positions as set forth in their respective letters (see Dkt.

   Nos. 1496, 1497), as well as all positions raised during the

   telephone conference. The Court has already made clear that

   it will not conduct a jury trial to determine the remedies to

   which the SEC is now entitled. Repeated arguments to the

   contrary waste the time of all parties and the Court. (See,

   e.g., Dkt. No. 1320 (suggesting that Defendants should not

   repeatedly raise matters that have been duly decided).)

           Accordingly, it is hereby ORDERED that any motion by

   plaintiff Securities and Exchange Commission with respect to

   the remedies it seeks against defendant Mykalai Kontilai or

   defendant Collector’s Coffee, Inc. shall be filed no later

   than March 1, 2024. Responses shall be filed no later than

   April 5, 2024. Replies shall be filed no later than April 19,

   2024.

           The Court will determine at a later date the precise

   order     of    proceedings     with     respect     to    the     claims   and

   crossclaims       (the   “Intervenor       Claims”)        among    intervenor
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   plaintiffs SDJ Investments, LLC, Adobe Investments, LLC, and

   Darren   Sivertsen,      intervenor   defendant    Jackie     Robinson

   Foundation, and defendants Mykalai Kontilai and Collector’s

   Coffee, Inc.

        Parties with a position on the order of trial proceedings

   for the Intervenor Claims are directed to memorialize their

   respective positions by letters not to exceed three pages

   entered on the docket no later than 14 days from the date of

   this Order.

   SO ORDERED.

   Dated:     26 January 2024
              New York, New York
